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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


 UNITED STATES OF AMERICA
                                               Case No. 19 CR 567-1
         v.
                                               Honorable Harry D. Lienenweber
 ROBERT SYLVESTER KELLY, aka
 “R.Kelly”


  GOVERNMENT’S MEMORANDUM IN SUPPORT OF ITS MOTION FOR
     DETENTION OF DEFENDANT ROBERT SYLVESTER KELLY

      The defendant, Robert Sylvester Kelly, currently 52-years old, sexually abused

young teen girls, some as young as being in 8th grade, over the span of many years.

Defendant threatened, intimidated, physically abused, and used violence, threats of

violence, and other controlling behaviors against victims and witnesses so that he

could abuse, manipulate, and control them. Defendant’s psychological abuse and

control of the young girls, who are now adults, is real and ongoing. Further, defendant

and his co-conspirators used defendant’s fame, power, and financial resources to go

to great lengths to obstruct justice, cover-up evidence, and tamper with witnesses.

For years, defendant used threats, intimidation, and pressure to cause victims, their

family members, and witnesses to provide false information to law enforcement

regarding defendant’s sexual abuse of young teen girls. Defendant and his co-

conspirators also threatened violence against witnesses who possessed graphic videos

showing defendant sexually abusing a minor girl.




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       For the safety of the community, to ensure that defendant abides by the law,

to ensure defendant’s appearance at future court dates, and because there is a

presumption in favor of detention, defendant should be detained pending trial.

I.     BACKGROUND

       On July 11, 2019, a grand jury in the Northern District of Illinois charged

defendant in a 13-count indictment involving offenses relating to child exploitation

and obstruction of justice. Specifically, Count One through Count Four of the

Indictment charges defendant with using a child to engage in sexually explicit

conduct for the purpose of creating a visual depiction of that conduct, in violation of

Title 18, United States Code, Section 2251(a). These counts allege that defendant

created four videos that depict him sexually abusing a young teen girl. Each of these

counts carries a mandatory minimum sentence of ten years in prison.

       Count Five charges defendant with an obstruction of justice conspiracy

spanning nearly two decades, from 2000 to the present, in violation of Title 18, United

States Code, Section 371. This count alleges that defendant and his co-conspirators

concealed and covered up the existence of videos that show defendant sexually

abusing young girls. The count also alleges that defendant conspired to pay money to

numerous people to ensure that they not cooperate with law enforcement and would

conceal and cover up evidence regarding defendant’s sexual abuse of minor girls. The

indictment alleges that defendant used physical abuse, violence, threats of violence,

blackmail, and other controlling behaviors against victims so that defendant could




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maintain control over them, prevent them from providing evidence to law

enforcement, and persuade them to lie about defendant’s sexual abuse of them.

      Counts Six alleges that for a period of six years, defendant and his co-

conspirators conspired to receive child pornography. Counts Seven and Eight allege

that defendant received three specific videos of child pornography. Each of these

counts carries a mandatory minimum sentence of five years in prison.

      Lastly, Counts Nine through Thirteen of the Indictment charge defendant with

enticing five minors to engage in sexual activity with him, in violation of Title 18,

United States Code, Section 2422(b).

      In total, defendant is facing a statutory mandatory minimum sentence of 10

years imprisonment and a maximum term of imprisonment of 195 years.

      Separately, on July 12, 2019, the United States Attorney’s Office for the

Eastern District of New York unsealed an indictment charging defendant in a five-

count indictment. That indictment includes a racketeering charge with multiple

predicate racketeering acts relating to five victims, some whom were minors at the

time of the conduct.

      There is no overlap between the victims alleged in this Indictment and the

victims alleged in the New York case. Accordingly, defendant faces federal charges

related to his abuse of 10 different minors and young women.

      In addition to those significant federal charges, defendant also faces serious

charges in the Circuit Court of Cook County, Illinois. Specifically, defendant was

charged in February 2019 with 10 counts of aggravated criminal sexual abuse of four



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different victims, including three victims who were under the age of 17 at the time of

the abuse. Then, in May 2019, defendant was charged with 11 additional counts of

sexual assault and abuse relating to one of those minor victims. Four of those charges

are pursuant to Title 720, Illinois Compiled Statutes, Section 5/12-14(a)(3) or (a)(4).

Those charges allege that defendant committed aggravated criminal sexual assault,

including by threatening the life of a victim or during the commission of another

felony.

II.     LEGAL STANDARD

        Under the Bail Reform Act, federal courts may order a defendant’s detention

pending trial upon a determination that no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of any

other person and the community. 18 U.S.C. § 3142(e). With respect to reasonably

assuring the appearance of the defendant, the government bears the burden of proof

by a preponderance of the evidence. United States v. Portes, 786 F.2d 758, 765 (7th

Cir. 1985). Regarding reasonably assuring the safety of any other person and the

community, the government bears the burden of proving its allegations by clear and

convincing evidence. 18 U.S.C. §3142(f); United States v. Salerno, 481 U.S. 739, 742

(1987). The meaning of “safety of any other person” in Section 3142(e)(1) is not limited

to physical harm or violence. United States v. Schenberger, 498 F. Supp. 2d 738, 742

(D.N.J. 2007) (“The concept of ‘safety’ may include non-physical harm.”).

        The Court shall hold a detention hearing when one of the circumstances

described in 18 U.S.C. § 3142(f) is met, including when the case involves a crime of



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violence, 18 U.S.C. § 3142(f)(1)(A), and when the case involves “a serious risk that the

[defendant] will obstruct or attempt to obstruct justice, or … attempt to threaten,

injure, or intimidate, a prospective witness or juror,” 18 U.S.C. § 3142(f)(2)(B). Felony

child exploitation offenses under Chapters 110 and 117, such as the crimes alleged in

Counts One through Four and Counts Six through Thirteen of the Indictment, qualify

as “crimes of violence” under the Bail Reform Act. 18 U.S.C. § 3156(a)(4)(C).

      The Bail Reform Act establishes a set of factors that the Court may consider in

its detention determination, including the nature and circumstances of the offense

charged, the weight of the evidence against the defendant, and the history and

characteristics of the defendant. 18 U.S.C. § 3142(g).

      Under 18 U.S.C. § 3142(e)(3)(E), there is presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant and

the safety of the community if there is probable cause to believe that a defendant

committed an offense involving a minor victim under 18 U.S.C. §§ 2251 and 2422.

That presumption applies in this case because the Indictment charges defendant with

those statutes in Counts One through Four and Counts Nine through Thirteen. This

presumption “continues to weigh in the balance against bail even after the defendant

meets his burden of producing some evidence to rebut the presumption.” United

States v. Diaz, 777 F.2d 1236, 1238 (7th Cir. 1985).

      The Federal Rules of Evidence do not apply at a detention hearing and the

government may proffer evidence. See Fed. R. Evid. 1101(d)(3); 18 U.S.C. § 3142(f);

Salerno, 481 U.S. at 743.



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III.     ARGUMENT

         During the course of its investigation, the government interviewed numerous

witnesses, received three videos that depict the defendant sexually abusing a young

teen girl, and obtained numerous records regarding defendant’s efforts to tamper

with witnesses, falsify records, and conceal and cover-up evidence. This evidence

establishes that defendant spent many years of his adult life exploiting and

manipulating young girls, including by threatening members of a victim’s family. In

order to avoid detection by law enforcement and to attempt to conceal the full scope

of his serial, exploitive efforts, defendant paid hundreds of thousands of dollars to

witnesses to collect videos of his sexual abuse of minors, and he used pressure,

intimidation, threats, and other coercive measures to persuade victims and witnesses

to lie to investigators.

         The defendant should be detained pending trial. He poses a significant threat

to minor girls in the community, to victims and witnesses in the case, and to the

ongoing investigation. In addition, defendant has the means and the incentive to flee

the jurisdiction given that he is facing multiple federal charges that carry a

mandatory minimum of 10 years’ imprisonment and a maximum of 195 years’

imprisonment. Defendant cannot overcome the statutory presumption in favor of

detention in this case. 18 U.S.C. § 3142(e)(3)(E).




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          A.    DEFENDANT POSES A RISK OF DANGER TO THE COMMUNITY

                  1.       NATURE AND CIRCUMSTANCES OF THE OFFENSES

      Defendant is charged with incredibly serious crimes involving the sexual

exploitation and abuse of young teenaged girls. Five of those victims – Minors 1

through 5 – are included in the indictment. That said, the government’s ongoing

investigation has revealed that defendant sexually abused many other young girls.

Indeed, as one example, in 1994 when defendant was 27-years old, he married a 15-

year old girl at a hotel in Rosemont, Illinois, knowing that she was a minor.

Defendant’s sexual abuse of young girls was prolific not only in the number of girls

he abused, but also in the frequency of his sexual abuse of particular girls. Two of the

minors listed in the Indictment reported that defendant sexually abused them

hundreds of times as minors, beginning when they were in middle school.

      Defendant’s sexual abuse of young girls included degrading, humiliating, and

sado-masochistic conduct such as urinating on a minor girl’s body. The Seventh

Circuit has held that urinating on a minor victim qualifies for the sentencing

enhancement for sadistic or masochistic conduct. See United States v. Turchen, 187

F.3d 735, 738-40 (7th Cir. 1999) (affirming district court’s conclusion that an image

of nude men standing over a prepubescent girl and urinating on her face qualified as

an image depicting sadistic or masochistic conduct under the sentencing guidelines,

finding that the district court’s description of the image as “degrading, depraved,

sadistic, masochistic, perverse, and a form of violence” was correct); United States v.




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Parker, 267 F.3d 839, 847 (8th Cir. 2001) (same). Both videos in Counts One and Two

of the Indictment include this type of sado-masochistic conduct by defendant.

      Four of the five minor victims listed in the Indictment reported that defendant

pressured and coerced them into having threesomes with defendant and other minor

girls. Two of those minor girls reported that they cried during the threesomes and

that defendant nevertheless pressured and coerced them to continue. One victim

reported that defendant told her not to be a “baby” about it and to stop crying.

      In addition to sexually abusing young teen girls, defendant further exploited

them by frequently filming his sexual abuse of them. The Indictment refers to Videos

1, 2, 3, and 4, all of which depict defendant’s sexual abuse of Minor 1. The government

possesses copies of Videos 1, 2, and 3, which were filmed in three different rooms at

defendant’s former residence located at 1010 West George Street in Chicago. The

government does not possess of a copy of Video 4, which also depicts Minor 2 in

addition to Minor 1, but at least four witnesses provided evidence to the government

regarding its existence, in addition to documentary evidence corroborating those

witnesses. The government does not have Video 4 as a result of defendant’s

obstruction of justice, which is charged in Count Five of the Indictment and discussed

further below.

      Minor 1 wasn’t the only young girl that defendant video recorded. Four of the

five minor victims listed in the Indictment reported that defendant video recorded his

sexual abuse of them. Moreover, there is no doubt that defendant knew the girls were

under the age of 18. Multiple victims reported that defendant frequently demanded



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that they say their age to him during defendant’s sexual abuse of them. That’s

corroborated by Video 2 and Video 3, in which both defendant and Minor 1 refer to

Minor 1 and Minor 1’s body parts as being 14-years old. In total, on Videos 2 and 3,

defendant and Minor 1 repeat her age at least 15 times.

      Multiple minor victims reported that defendant used physical violence, and

threats of physical violence, as punishments and as a way to control their behavior

and loyalty. Both Minor 1 and Minor 2 reported being physically abused by defendant.

Minor 4 reported that defendant threatened physical abuse against her. Minor 5

witnessed defendant physically attack someone else in her presence. Defendant’s

physical violence against the minors sometimes continued after they became adults.

      In addition to physical harm, psychological harm is considered a danger under

the Bail Reform Act, and in cases like this, the harm is “severe and real” and the

danger is “ongoing.” United States v. McIntyre, No. 16-13, 2018 WL 385034, at *5

(D.N.J. Jan. 10, 2018). In McIntyre, the defendant essentially extorted minor-aged

girls to produce pornographic images by sending threatening messages over social

media. The court found that the defendant could not overcome the presumption for

detention, despite the fact that the defendant did not physically, in-person exploit a

young child. Additionally, courts have found that a danger to the community does not

only include physical harm or violent behavior. See, e.g., United States v. Provenzano,

605 F.2d 85, 95 (3d Cir. 1979) (a “defendant’s propensity to commit crime generally,

even if the resulting harm would not be solely physical, may constitute sufficient risk

of danger to come within contemplation of [the Bail Reform Act]”).



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      The sexual abuse of minor-aged victims is an insidious offense. Both courts and

Congress have acknowledged the dangers of child pornography under 18 U.S.C. §

2251, and “repeatedly stress that child pornography ‘is a form of sexual abuse which

can result in physical or psychological harm, or both, to the children involved.”

United States v. MacEwan, 445 F.3d 237, 249-50 (3d Cir. 2006) (quoting Child

Pornography Prevention Act of 1996, Pub.L.No. 104-208, § 121, 110 Stat. 3009, 3009-

26 (1996) (codified as amended at 18 U.S.C. § 2251)). In MacEwan, the court cited the

same Congressional findings which indicate that “where children are used in its

production, child pornography permanently records the victim’s abuse and its

continued existence causes the child victims of sexual abuse continuing harm by

haunting those children in future years.” Id. at 250 (emphasis added). “The mere

‘existence of and traffic in child pornography images creates the potential for many

types of harm in the community and presents a clear and present danger to all

children.” Id.; see also United States v. Conover, 12-2080, 2012 WL 4846132 (D.N.J.

Oct. 10, 2012) (citing MacEwan in favor of detention for a defendant who was charged

with receipt and distribution of child pornography).

      In this case, defendant preyed on vulnerable teen girls. Defendant used his

celebrity status to lure young teen girls to him, and then he gained their trust and

admiration. Once the young girls were close to defendant, defendant repeatedly used

and abused them for his own sexual desires. Defendant was physically abusive, and

he created numerous videos as trophies. Defendant further controlled his victims by




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isolating them from family and friends and by imposing rules such as not allowing

them to speak with other men without his permission.

      The psychological scars that defendant left on his victims are real. That was

by design, so that the victims would feel beholden to defendant and would not disclose

the abuse to law enforcement. The risk defendant poses to these victims, and the

trauma that he instilled when he videotaped his exploitive efforts, is ongoing and

warrants detention pending trial.

                  2.      THE STRENGTH OF THE EVIDENCE

      The evidence against defendant is very strong and weighs in favor of detention.

      First, the government possesses three videos showing defendant sexually

abusing a young teen girl. These videos are disturbing, explicit, and crude. In two of

the videos, defendant repeatedly refers to the victim’s genitalia as being 14-years old

and in such a way that indicates his particular sexual attraction to girls that age. In

two of the videos, defendant subjects the victim to sadomasochistic abuse. These

videos alone evidence the need for defendant’s detention as he poses a risk to the

community. Defendant’s identity on these videos is established in multiple ways,

including by the victim herself. All three of these videos were filmed at defendant’s

former home on George Street in Chicago, where very distinctive features of the home

are prominently displayed on the videos.

      Second, the government has interviewed numerous victims who have testified

under oath regarding defendant’s sexual abuse and his methods of physical and

psychological control. For example:



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       One victim testified that defendant sexually abused her beginning when she

was just 13 or 14-years old. Defendant repeatedly coerced the victim to engage in

various and numerous sex acts, including threesomes with other minors and

defendant, and he routinely videotaped that activity. Defendant also physically

abused the minor victim. Defendant maintained significant control over the victim

and persuaded her for many years to withhold information from law enforcement

regarding the sexual abuse.

       Similarly, another victim testified that defendant sexually abused her

beginning when she was just 13 or 14-years old. She explained that defendant coerced

her to engage in threesomes and foursomes with him and other minor girls.

Defendant convinced the victim to keep the sexual abuse secret, and he repeatedly

sexually abused her for years. Defendant also routinely videotaped his sexual abuse

of this victim.

       Another victim recounted that she met defendant when she was 16-years old,

and that he forced her to engage in a threesome with him and another minor, during

which she cried because she didn’t want to go through with it. Similarly, another

victim testified that she cried when defendant coerced her into a threesome with

defendant and another minor victim. Defendant videotaped his sexual abuse of this

minor, including the threesomes. This victim also reported that defendant physically

abused her and was psychologically controlling of her.




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        Yet another victim testified that defendant targeted her when she was just 15-

years old. Defendant lured the victim to come from a different state, and he sexually

abused her on two different occasions, one occurring at his music studio in Chicago.

        Defendant’s repeated sexual abuse of minors demonstrates that he is a danger

to society. Also, the fact that defendant routinely created video evidence regarding

the sexual abuse means that the victims live in constant fear that videotapes will

surface and that they will be re-victimized by the receipt or distribution of those

videotapes. This is a very real fear, particularly given the wide distribution and black-

market sales of Video 1 that occurred in connection with defendant’s state charges in

2002.

        Third, the government interviewed numerous witnesses who explained

defendant’s efforts to cover-up and conceal his sexual abuse of young teen girls,

including defendant’s incredible efforts to obstruct justice. For example, one of the

victim’s parents testified that defendant threatened the family if they did not deny to

law enforcement that defendant sexually abused the victim. Another witness

explained that defendant hired him to collect and return copies of videotapes that

showed defendant sexually abusing a minor. Defendant threatened the life of the

witness if the witness did not return all copies of the tape. A victim testified that she

was depicted on one of those videotapes, and defendant paid her $100,000 to return

a copy of the videotape. Additionally, several witnesses explained that defendant

required that at least three witnesses take a polygraph examination to ensure that




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defendant collected all copies of videotapes that depicted him sexually exploiting

minors.

      The above-detailed evidence is just a summary of the government’s evidence of

defendant’s serial sexual abuse of minors and efforts to obstruct justice. Defendant

has shown a repeated, violent, and dangerous history of exploiting minors, and he

has demonstrated that he will break the law to try to keep himself from facing federal

charges. Defendant should be detained pending trial.

      B.     DEFENDANT POSES A SERIOUS RISK OF FLIGHT

      Unlike the state court charges that defendant has faced since earlier this year,

the Indictment in this case charges defendant with numerous counts that that carry

a mandatory minimum sentence of 10 years’ imprisonment. If convicted, defendant

could spend the rest of his life in jail. Defendant is an incredibly successful recording

artist who earned multi-millions of dollars over several decades. He continues to live

a lavish lifestyle and has the means and incentive to flee now that he is facing much

more serious charges with hard video evidence and cooperating victims. Accordingly,

defendant is a risk of flight in addition to being a danger to the community.

      The government will supplement this portion of its analysis after we review

the Pretrial Services Report.

      C.     DEFENDANT POSES A SERIOUS RISK OF ENGAGING IN OBSTRUCTION OF
             JUSTICE

      In addition to being a danger to the community and a risk of flight, there is a

serious risk that defendant will obstruct or attempt to obstruct justice, or threaten,

injure, or intimidate a prospective witness.


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      Count One of the Indictment charges defendant with using a minor to create

Video 1. Defendant was previously charged with this conduct in People of the State of

Illinois v. Robert Kelly, 02 CR 14952. But defendant actively obstructed justice during

the pendency of this trial. Defendant threatened witnesses, he isolated the victim at

issue in the case, and he paid hundreds of thousands of dollars to at least three

separate people to collect and round up videotape evidence that would prove his guilt.

The defendant undermined the integrity of the state court trial, and his efforts

obstructed the fair administration of justice. It further discouraged victims from

cooperating with law enforcement for years, which allowed defendant to get away

with his conduct for so long. Not anymore.

      Additionally, as described in Count Four of the Indictment, there is probable

cause to believe that defendant persuaded and instructed numerous witnesses and

victims to lie under oath. Defendant used threats of violence, financial intimidation,

and other coercive methods to ensure that victims and witnesses would not disclose

the fact that he sexually abused a minor. Further, defendant and defendant’s co-

conspirators covered up evidence proving that Minor 1 was depicted in Video 1.

      Defendant and his coconspirators also made witnesses and victims falsify

records and create false entries in records. For example, defendant and his co-

conspirators arranged for one victim to meet with an attorney who created a report

of the interview with false information. At defendant and his co-conspirator’s

direction and through intimidation and threats, the victim falsely denied that

defendant engaged with a threesome with the victim and another minor.



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         Defendant engaged in these efforts in order to mitigate the risk that he would

face the serious charges that he now faces in this Court. Defendant’s efforts amount

to probable cause that he conspired to obstruct justice over the course of many years,

and there is probable cause to believe that defendant is at serious risk of continuing

to obstruct or attempting to obstruct justice.

IV.      CONCLUSION

         The government respectfully requests that the defendant be detained pending

trial.




                                         Respectfully submitted,

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                                         United States Attorney

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